1. A writing between a typographical union of the one part and three named publishers of daily newspapers of the other part, containing various provisions regarding hours of employment, wages, working conditions, adjustment of differences, and other similar matters, being what is usually termed a collective-bargaining agreement, and containing nothing more definite or certain as to employment of individuals who were members of the union than that "this contract and scale of prices shall, unless changed by mutual consent, be in effect from June 6th, 1938, to September 30th, 1940, inclusive," and that "The publishers agree to employ or retain in employment only journeymen and apprentice members of the union in good standing, to perform the work in their respective composing rooms," did not amount to a contract for employment of any particular individual for any period of time, and furnished no basis for a suit by individual members of the union against one of such publishers for wages claimed to be due for a period of time stated, where it appears that the publishing company had discontinued business, and that the plaintiffs had not been actually employed for the period for which wages were claimed.
2. The petition, failing to show any promise on the part of the defendant to employ or to retain in its employment any particular member or members of the union for any period of time, was insufficient to state a cause of action for recovery of wages, and this being the only matter complained of by the plaintiffs, the petition was properly dismissed on general demurrer.
Judgment affirmed. All the Justicesconcur.
                     No. 13423. SEPTEMBER 24, 1940.
A. M. Jones and others filed their petition against Hearst Consolidated Publications Inc., alleging that on June 8, 1938, they were members in good standing of the Atlanta Typographical Union No. 48, on which date said union entered into a contract with the publishers of three Atlanta daily newspapers, to wit, Atlanta Georgian-American Department, Hearst Consolidated Publications Inc., Constitution Publishing Company, and Atlanta Journal Company. They attached to their petition, when amended, a copy of said contract containing various provisions regarding hours of employment, wages, working conditions, adjustment of differences, and other similar matters, and being what is usually termed a collective-bargaining agreement. It is a very lengthy contract containing seventy paragraphs, two of which are apparently relied on in part by petitioners, and which read as follows:
"Witnesseth: That this contract and scale of prices shall, unless changed by mutual consent, be in effect from June 6th, 1938, to *Page 763 
September 30th, 1940, inclusive, and thereafter within the limitations hereinafter set forth.
"The Publishers agree to employ or retain in employment only journeymen and apprentice members of the Union, in good standing, to perform the work in their respective composing rooms. It is specifically agreed this contract involves only employees in the composing room."
Petitioners alleged, that on the date the contract was made they were regular employees of the defendant doing business under the name and style of "The Atlanta Georgian-American" in said State and county, being employed by the defendant in the composing room of said business, and were listed under their own individual names upon the pay-roll of the defendant; that while petitioners were not personally named as parties to said contract, they were in truth and in fact the real and principal parties thereto, instead of said Union, the said Union acting for and in behalf of and as the duly authorized agent and representative of petitioners and all other regular employees of said composing room; that the contract was entered into between defendant and petitioners by and through petitioners' said agent and representative, the Atlanta Typographical Union No. 48, as provided for collective bargaining by employees in interstate commerce; that the defendant knew that petitioners and all other regular employees of said composing room were the real and principal parties to the contract, and knew that the Union was acting for them; that on December 23, 1939, without any notice whatever and without any right, the defendant dropped all of petitioners and other regular employees of its composing room from its pay-roll, and ceased to employ them further, and since then has paid petitioners no amount whatever and has furnished them no employment, all in breach of the terms of said contract. Petitioners alleged that, being principals to the contract and their names not appearing therein, the contract should be reformed and made to speak the truth so as to show petitioners and all other regular employees of the composing room aforesaid as parties to the contract; and they so prayed. Alleging further that the contract was to extend until September 30, 1940, they contend that the defendant owes each of the petitioners his regular wage of $46 per week for seven weeks, or $322 to the date of filing the petition; and they prayed for judgment accordingly. They served *Page 764 
notice upon the defendant to produce, upon the hearing, the bill of sale, transfer, etc., of the business of the Atlanta Georgian and Sunday American to James M. Cox.
The defendant's demurrer on grounds general and special was sustained and the action dismissed, and the petitioners excepted.